        Case 4:07-cr-00109-DMT               Document 44          Filed 07/16/08        Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NORTH DAKOTA
                                  NORTHWESTERN DIVISION

United States of America,        )
                                 )
                Plaintiff,       )     ORDER DENYING DEFENDANT’S REQUEST
                                 )     FOR FURLOUGH
        vs.                      )
                                 )
Justin Robert Beston,            )
                                 )     Case No. 4:07-cr-109
                Defendant.       )
______________________________________________________________________________

        The defendant, Justin Robert Beston (“Beston”), made his initial appearance in the above-entitled

action on December 13, 2007. Upon receipt of Beston’s signed waiver of his right to a detention hearing, the

court ordered him detained pending final disposition of this matter. He is presently incarcerated in Rugby,

North Dakota, at the North Central Correctional and Rehabilitation Center.

        On July 15, 2008, Beston filed a Request for Furlough. He asks that he be temporarily released from

custody so that he may attend his father’s wake and funeral in Dunseith, North Dakota, on July 17, 2008.

        Although the court sympathizes with Beston, it is not inclined to grant his request given his extensive

criminal history, the nature of his pending charges (second degree murder and assault resulting in serious

bodily injury), and his risk of flight. Further, it is against the policy of the United States Marshal’s Service

to transport and supervise persons held in custody for this purpose. Beston’s Request for Furlough (Docket

No. 41) is therefore DENIED.

        IT IS SO ORDERED.

        Dated this 16th day of July, 2008.

                                                   /s/ Charles S. Miller, Jr.
                                                   Charles S. Miller, Jr., Magistrate Judge
                                                   United States District Court
